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                                   Exhibit 1
                       Saracco et al. v. State of Alaska et al.,
                    Settlement and Release of All Claims between
                     Plaintiffs and Defendant City of Gustavus
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